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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 MARIAH BRADFORD, INDEPENDENT                    §
 ADMINISTRATOR FOR THE ESTATE                    §
 OF TERRANCE ARTHUR KIRK                         §
                                                 §
   Plaintiff,                                    §
                                                 § Civil Action No. 5:23-cv-00661-JKP-RBF
 v.                                              §
                                                 §
 AMERICAN ADVISORS GROUP, AVT                    §
 TITLE SERVICES, LLC, A TEXAS                    §
 LIMITED LIABILITY COMPANY, and                  §
 CARRINGTON MORTGAGE                             §
 SERVICES, LLC,                                  §
                                                 §
   Defendants.                                   §

                           JOINT CASE MANAGEMENT PLAN

       Pursuant to this Court’s Order Regarding Certain Pretrial Matters (ECF Doc. No. 6) (the

“Order”), Plaintiff Mariah Bradford, Independent Administrator for the Estate of Terrence Arthur

Kirk, Deceased (“Plaintiff”) and Defendants American Advisors Group (“AAG”), Carrington

Mortgage Services, LLC (“Carrington”) and AVT Title Services LLC, a Texas Limited Liability

Company (“AVT” collectively with Carrington and AAG “Defendants”) file the following

information in compliance with Federal Rule of Civil Procedure Rule 26(f) and Local Rule 26.1:

        1.      What is the basis for subject-matter jurisdiction? Are there any outstanding
jurisdictional issues? For cases premised on diversity jurisdiction, provide the citizenship of each
party and explain whether or not the parties agree that the amount in controversy exceeds $75,000.
For removal cases, explain whether the parties agree that the amount in controversy exceeded
$75,000 at the time of removal. If there is any disagreement on these issues, each party should
state its respective position.

        RESPONSE: Jurisdiction is based on diversity. Plaintiff is a citizen of Texas. [See ECF
No. 1 ¶7]. Defendant AAG is a citizen of California. Id. at ¶8. Defendant Carrington is a citizen
of Delaware, Tennessee and Wyoming. Id. at ¶8. Defendant AVT is improperly joined and thus
its citizenship should not be considered for diversity purposes Id. at ¶¶10-16. The Parties agree
that the amount in controversy exceeds $75,000.00.


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       2.    Are there any unserved parties? If more than 90 days have passed since the filing
of the Complaint or petition, should these unserved parties be dismissed?

          RESPONSE: All parties have been served.

       3.     What are the causes of action, defenses, and counterclaims in this case? What are
the elements of the cause(s) of action, defenses, and counterclaims pled?

          RESPONSE: Plaintiff brings claims for declaratory judgment, fraud, and seeks injunctive
relief.

       With respect to elements, Plaintiff in her declaratory judgment action asks the Court to
declare that the reverse mortgage is void for lack of an authorized party, or alternatively, is void
for impossibility of the requirement to insure a home that was declared uninsurable, or alternative,
void for both reasons.

        For fraud, the elements are: (1) that a material representation was made; (2) the
representation was false; (3) when the representation was made, the speaker knew it was false or
made it recklessly without any knowledge of the truth and as a positive assertion; (4) the speaker
made the representation with the intent that the other party should act upon it; (5) the party acted
in reliance on the representation; and (6) the party thereby suffered injury. In re FirstMerit Bank,
N.A., 52 S.W.3d 749, 758 (Tex. 2001).

      Defendants’ position is that Plaintiff has not identified any material misrepresentations by
Defendants or any reliance upon any alleged material misrepresentations.

      4.      Are there any agreements or stipulations that can be made about any facts in this
case or any elements in the cause(s) if action?

          RESPONSE: None at this moment.

       5.         State the parties’ views and proposals on all items identified in Fed. R. Civ. P.
26(f)(3).

          RESPONSE: Please see the Proposed Agreed Scheduling Order submitted by the parties.

      6.      What, if any, discovery has been completed? What discovery remains to be done?
Have the parties considered conducting discovery in phases?

          RESPONSE: Discovery has not been started.

          7.      What, if any discovery disputes exist?

          RESPONSE: None at this moment.



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      8.     Have the parties discussed the desirability of filing a proposed order pursuant to
Federal Rule of Evidence 502?

      RESPONSE: Not at this moment.

      9.      Have the parties discussed mediation? Is this a case that could be mediated early
and effectively with limited discovery? If so, what discovery is essential to any early mediation
and how could it be structured to streamline an early mediation?

       RESPONSE: The Parties attended mediation previously in the state court action but were
unable to come to an agreement. They are hopeful that they can reach an agreement on their own
early in the case without the need for mediation. Otherwise, the Parties agree that mediation would
be appropriate at or around the close of the discovery period.

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                              CERTIFICATE OF SERVICE

       I do hereby certify that I have caused a copy of the foregoing to be delivered to the
following in the manner described on this July 21, 2023

Via Electronic Service
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                                              _/s/ Nicholas M. Frame
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